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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF NEVADA

                                                    3:19-cv-00153-RCJ-CBC
HARRY WISEMAN,
                                              VERIFIED PETITION FOR
                                              PERMISSION TO PRACTICE
                                              IN THIS CASE ONLY BY
                                              ATTORNEY NOT ADMITTED
                                              TO THE BAR OF THIS COURT
JACOBS ENTERTAINMENT, INC., a                 AND DESIGNATION OF
Delaware Corporation, et al.,                 LOCAL COUNSEL




            Jessica C. Collier



                   Wilson, Elser, Moskowitz, Edelman & Dicker, LLP

                                   1225 17th Street, Suite 2750

              Denver                               Colorado                 80202

       (303) 572-5300               Jessica.Collier@wilsonelser.com



         Fassio Egg Farms, Inc.
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                                 10/22/2007

                                                               Colorado




            Colorado State Court                  10/22/2007        38981
             Texas State Court                                  24099240




None




                                              2
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None




Colorado State Bar Association
Texas State Bar Association




        None                     None          None




                                        3
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 1      By this designation the petitioner and undersigned party(ies) agree that this designation constitutes
2       agreement and authorization for the designated resident admitted counsel to sign stipulations
3       binding on all of us.
4
 5                 APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL
 6
 7              The undersigned party(ies) appoint(s) ______R_a_c_he_l_L_._W_1_·s_e_____ as
                                                             (name of local counsel)
 8      his/her/their Designated Resident Nevada Counse in this case.
 9
10
11
                                              Fassio Egg Farms, Inc.
12                                            (type or prmt party name, title)
13
                                              (party's signature)
14
15
                                              (type or print party name, title)
16
17                                CONSENT OF DESIGNEE
                The undersigned hereby consents to serve as associate resident Nevada counsel in this case.
18
19
20
21                                            12303                         Rachel. Wise@wilsonelser.com
                                              Bar number                    Email address
22
23
        APPROVED:
24
        Dated: this 21st day of _October, 2020.
25
26
        UNITED STATES DISTRICT JUDGE
27
28                                                        5                                          Rev. 5/16
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              Exhibit A
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               Exhibit B
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